Case 1: 05- -c\/- 01103- .]DT- STA Document 2 Filed 04/20/05 Page 1 of 4 Pagé?%t
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IN THE UNITED STATES DISTRICT COURT w JPA><.) \
FOR THE WESTERN DISTRICT OF TENNESSEE ,~,f`“L/;‘ 0 p ` §§
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United States of Amenca, C». ,»L\:) `,/»
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Plaintiff,
vs. Civil No.
Six (6) Firearms and Various Ammunition, 1 _ 0 5 _ ‘I 1 0 3 __ '|' A“
Defendant.
ORDER
Pu.rsuant to a complaint filed by the United States on l l , 2005,

seeking the forfeiture of Six (6) Firearms and Various Ammunition, under the provision of 18
U.S.C.§ 924(d)(1), it is hereby ORDERED:

l. That the Department of the Treasury, Bureau of Alcohol, Tobacco, Firearms, and
Explosives Will seize the defendant property and hold said property subject to the further orders of
this Court;

2. That the Department of the Treasury, Bureau of Alcohol, Tobacco, Firearms, and
Explosives will serve a copy of the complaint on all known claimants to the defendant property
including, without limitation, Roland W. Hayer and Kurt M. Hayer;

3. That the Department of the Treasury, Bureau of Alcohol, Tobacco, Firearms, and
Explosives will advertise in the Daily News, Memphis, Tennessee, for a period of three consecutive
weeks, once per week. The advertisement will notice that the defendant property was seized by the
Department of the Treasury, Bureau of Alcohol, Tobacco, Firearrns, and Explosives on October 20,

2004 in Jackson, Tennessee, from Roland W. Hayer and Kurt M. Hayer; that a Complaint for

Thle document entered on the docket |n rn lance
with Rule 58 end'or_?B (a) FRCF* on g 13 0 j 5

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Forfeiture has been filed pursuant to 18 U.S.C.§ 924(d)(l); and that any parties claiming any interest

in the said property must tile a claim within thirty (30) days of the notice and an answer to the

complaint within twenty (20) days therealter;

4. The Department of the Treasury, Bureau of Alcohol, Tobacco, Firearms, and

Explosives may use the attached legal notice in the advertisement

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ENTERED; rhis 34 day of M ,2005.

UN'IT STATES DISTRICT JUDGE

 

APPROVED :

TERRELL L. HARRJS
United States Attomey

Byf W %4" (__Q §
EYXSTOPHER E. cOTTEN
istant United States Attorney

800 Federal Building
Memphis, Tennessee 38103
(#014277, Tennessee)
(901)544-4231

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EASTERN DivIsION "
United States of America,
Plaintiff,
vs. Civil No.
Six (6) Firearms and Various Ammunition, '| - 0 5 - 1 1 0 3 _ T A"
Defendant.
LEGAL NOTICE

Take notice that on October 20, 2004, the Department of the Treasury, Bureau of Alcohol,
Tobacco, Firearms, and Explosives seized Six (6) Firearms and Various Arnmunition nom Roland
W. Hayer and Kurt M. Hayer of Jackson, Tennessee.

On 2005, the United States filed a complaint to forfeit said property under
the provision of 18 U.S.C.§ 924(d)(l), the complaint being styled:

United States of America v. Six (6) Fireanns and Various Ammunition,

No.

Any party having any objection to said forfeiture or maintaining any claim to the said
property must file a claim in the Oftice of the Clerk, United States District Court, 262 U.S.
Courthouse, l l l S. Highland, Jackson, Tennessee 383 0, with a copy thereof sent to Assistant United
States Attomey Clnistopher E. Cotten, at 800 Federal Building, Memphis, Tennessee 38103 within
thirty (30) days of the first publication of this notice and must file an answer to the complaint within

twenty (20) days thereafter.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case l:05-CV-01103 was distributed by faX, mail, or direct printing on
April 20, 2005 to the parties listed.

 

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

